        Case 1:17-cv-01953-RDM Document 57 Filed 11/27/17 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )                    Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )                    Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.          )
                          )
           Defendants.    )
                          )

                                      NOTICE


       Pursuant to the Court’s instruction of November 27, 2017, Defendants,

International Brotherhood of Teamsters, et al. hereby submit, through counsel, the

attached exhibits not previously filed through the Court’s electronic filing system:


      Def. Ex. 38- December 10, 2014 Chairman’s Message

      Def. Ex. 39- April 21, 2015 Chairman’s Message

      Def. Ex. 40- May 29, 2017 Chairman’s Message

      Def. Ex. 41- October 15, 2015 Chairman’s Message

      Def. Ex. 42- March 17, 2016 Email

      Def. Ex. 43- March 19, 2016 Email

      Def. Ex. 44- Screenshots of Flight 8010, August 26

      Def. Ex. 45- Screenshots of August 26

      Def. Ex. 46- Screenshots of Flight PO218, August 27
       Case 1:17-cv-01953-RDM Document 57 Filed 11/27/17 Page 2 of 3



     Def. Ex. 47- Screenshots- Campbell

     Def. Ex. 48- Screenshots of Flight PO213, June 7

     Def. Ex. 50- Chart (Active pilots with less than 3 yrs experience)




Dated: November 27, 2017               Respectfully submitted,

                                       /s/ Deirdre Hamilton
                                       Deirdre Hamilton (D.C. Bar No. 472334)
                                       Staff Attorney
                                       International Brotherhood of Teamsters
                                       25 Louisiana Ave., NW
                                       Washington, DC 20001-2198
                                       Phone: (202) 624-6948
                                       Fax: (202) 624-6884
                                       dhamilton@teamster.org

                                       Edward M. Gleason, Jr.
                                       (D.C. Bar No. 429325)
                                       Chief Counsel, Teamsters Local 1224
                                       Law Office of Edward Gleason, PLLC
                                       910 17th Street, N.W., Suite 800
                                       Washington, DC 20006
                                       Ph: 202-800-0099
                                       egleason@gleasonlawdc.com

                                       James Petroff (Ohio Bar. No. 42476)
                                       Trent R. Taylor (Ohio Bar. No. 91748)
                                       BARKAN MEIZLISH, LLP
                                       250 East Broad Street, 10th Floor
                                       Columbus, Ohio 43215
                                       Ph: (614) 221-4221
                                       Fax: (614) 744-2300
                                       jpetroff@barkanmeizlish.com
                                       ttaylor@barkanmeizlish.com

                                       Counsel for-Plaintiffs International
                                       Brotherhood of Teamsters and Teamsters
                                       Local 1224
       Case 1:17-cv-01953-RDM Document 57 Filed 11/27/17 Page 3 of 3



                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document with all attachments was filed

with the Clerk of this Court this 27th day of November, 2017, and was served on all

parties, electronically through the Courts ECF system.


                                            /s/ Deirdre Hamilton
                                            Deirdre Hamilton
